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        EXHIBIT A
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JAE LEE LAW, P.C.
2050 Center Avenue, Suite 120
Fort Lee, New Jersey 07024
Telephone No.: (201)346-3800
Facsimile No.: (201) 346-3822
Attorneys for Plaintiff, Pedro Taveras Jr.

PEDRO TAVERASJR.                                             SUPERIOR COURT OF NEW JERSEY
                                                             LAW DIVISION: BERGEN COUNTY
                  Plaintiff
                                                                 DOCKET NO.: BER-L-2760-22
        vs.
                                                                          CIVIL ACTION
WALMART INC., “JOHN DOES 1-5”, and “ABC
COMPANIES 1-5”, (both being fictitious
designations),
                                                                            SUMMONS


                Defendants.


     THE STATE OF NEW JERSEY, TO THE ABOVE NAMED DEFENDANT(S):


                                             Walmart Inc

         THE PLAINTIFF, named above has filed a lawsuit against you in die Superior Court of
New Jersey. The Complaint attached to this Summons states the basis for diis lawsuit. If you
dispute diis Complaint, you or your attorney must file a written Answer or Motion and proof of
Sendee with the deputy clerk of the Superior Court in the County listed above within 35 days from
the date you received diis Summons, not counting the date you received it. If the Complaint is one
in foreclosure, then you must file your written Answer or Motion and proof of service with die
Clerk of the Superior Court, Hughes Justice Complex, CN-971, Trenton, NJ 08625. A $135.00
filing fee payable to the Clerk of die Superior Court and a completed Case Information Statement
(available from the deputy clerk of the Superior Court) must accompany your Answer or Motion
when it is filed. You must also send a copy of your Answer or Motion to plaintiffs attorney whose
name and address appear above, or to plaintiff, if no attorney is named above. A telephone call will
not protect your rights; you must file and serve a written Answer or Motion (with fee and complete
case Information Statement), if you want the Court to hear your defense.

        If you do not file and serve a written Answer or Motion widiin 35 days, the Court may enter
a Judgment against you for the relief of plaintiffs demands, plus interest and costs of suit. If
judgment is entered against you the Sheriff may seize your money, wages or property to pay all or
part of the judgment.
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         If you cannot afford to pay an attorney, you may call the Legal Sen-ices Office in the county
where you live. A list of these offices is provided. If you do not have an attorney and are not
eligible for free legal assistance, you may obtain a referral to an attorney by calling the Lawyer
Referral Sendees. A list of these numbers is also provided.




                                                       /s/ Michelle M. Smith. Clerk
                                                           MICHELLE M. SMITH, CLERK


Dated: May 23, 2022




Name and Address of Defendant:




                                     Walmart Inc
                               1 Teterboro Landing Dr
                                 Teterboro, NJ 07608
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JAE LEE LAW, P.C.
By: Pasha Razi, Esq.
2050 Center Avenue, Suite 120
Fort Lee, New Jersey 07024
Telephone No.: (201) 346-3800
Facsimile No.: (201) 346-3822
New Jersey Attorney ID: 205192017
Attorneys for Plaintiffs, Pedro Taverns Jr.

PEDRO TAVERAS, JR.                                   SUPERIOR COURT OF NEW JERSEY
                                                     LAW DIVISION: BERGEN COUNTY
                 Plaintiff,
                                                              DOCKET NO.: BER-L-
        vs.
                                                                  CIVIL ACTION
WALMART INC., “JOHN DOES 1-5”, and
“ABC COMPANIES 1-5”, (both being fictitious
designations).

                Defendants.




                                COMPLAINT and JURY DEMAND



        Plaintiff, Pedro Taveras Jr., residing at 184 Glenwood Ave, in Borough of Bloomfield,

Count)' of Bergen, State of New Jersey, by way of Complaint against the Defendants, says:

                                              FIRST COUNT


        1. On or about July 15, 2021, Plaintiff, Pedro Taveras Jr., was lawfully upon die premises

located at Walmart, on 1 Teterboro Landing Dr, in die City of Teterboro, County of Bergen, and

State of NJ.

        2. At die aforesaid dme and place, die premises was owned, operated, maintained and/or

controlled, as owner, landlord, lessee and/or lessor by Defendants, Walmart Inc., “JOHN DOES 1-

5” and/or “ABC CORPORATIONS 1-5”, (fiedtious name for individuals whether individually,

partnerships or corporations who may be responsible).
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       3. At the aforesaid time and place, Defendants, Walmart Inc., “JOHN DOES 1-5” and/or

“ABC CORPORATIONS 1-5”, (fictitious names for individuals whether individually, partnerships

or corporations who may be responsible), through its agents, servants, and/or employees had a duty

to Plaintiff and persons such as Plaintiff, to keep and maintain the premises in a safe and proper

condition and free and clear of any and all hazardous and dangerous conditions and disrepairs which

would endanger the safety of Plaintiff and person such as Plaintiff.

        4.   At the aforesaid time and place. Defendants so negligendy and carelessly owned,

operated, maintained and/or controlled tire subject premises in such a way so as to cause Plaintiff,

Pedro Taveras Jr., to become injured due to die presence of a hazardous and dangerous condidon

on such premises.

        5. Defendants above disregarded its duty aforesaid and negligendy and carelessly allowed its

premises to be improperly, dangerously and palpably unreasonably maintained and to remain in an

unsafe and dangerous condidon in allowing said hazardous and dangerous condidon to exist on its

premises, all of which Defendants had due notice or by reasonable inspection diereof, would have

had due notice.

        6. That at all times hereinafter mentioned, die said Defendants had actual notice and/or

constructive notice of said hazardous and dangerous condition and/or by reasonable inspection

diereof, would have had due notice of the hazardous and dangerous condition existing.

        7. As a result of die aforesaid carelessness and negligence of Defendant, Plaintiff suffered

severe and permanent injuries; was disabled and disfigured; has suffered and will continue to suffer

great pain and torment, bodi mental and physical.

        8. As a furdier result of Defendants’ aforesaid negligence and die injuries diereby caused to

Plaintiff, Plaintiff has been and will be in die future compelled to spend great and diverse sums of
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money for medical aid and treatment, and has been and will be prevented from attending to the

usual occupation, duties, activities and business.



        WHEREFORE, Plaintiff, Pedro Taveras Jr., demands judgment against Defendants,

Walmart Inc., “JOHN DOES 1-5” and/or “ABC CORPORATIONS 1-5”, (fictitious names for

individuals whether individually, partnerships or corporations who may be responsible), for

damages, together with interest and costs of suit.



                                          SECOND COUNT


        1. Plaintiff repeats and allegations of tire First Count of the Complaint as if set forth at

length herein.

        2. Plaintiff reserves tire right to amend tire Complaint to substitute tire names of the actual

business entity or individual for tire fictitious name “JOHN DOES 1-5’ and/or “ABC

CORPORATIONS 1-5”, (fictitious names for individuals whether individually, partnerships or

corporations who may be responsible), should it be determined that other persons or entities are

responsible for tire condition which caused tire incident complained of.

        WHEREFORE, Plaintiff, Pedro Taveras Jr., demands judgment against Defendants,

Walmart Inc., “JOHN DOES 1-5” and/or “ABC CORPORATIONS 1-5”, (fictitious names for

individuals whether individually, partnerships or corporations who may be responsible), for

damages, together with interest and costs of suit.




                                            TORY DEMAND

        Plaintiff demands a trial by jury on all issues so triable.
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                             DESIGNATION of TRIAL COUNSEL

       Pursuant of Rule 4:5-1 (c), Martin S. Cedzidlo, Esq., is hereby designated as Trial Counsel.



                                         CERTIFICATION

        I hereby certify that this matter is not the subject of any other action pending in any court or

arbitration proceeding, that no such other action or arbitration proceeding is contemplated by this

Plaintiff, and diat there are no other parties, whom, to tire knowledge of Plaintiff (s)' counsel, should

be joined in this acdon.

        I hereby certify that the foregoing statements made by me are true. I am aware that if any of

die foregoing statements made by me arc willfully false, I am subject to punishment.




                                                       Pasha Razi



Date: May 10, 2022
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                        Civil Case Information Statement
Case Details: BERGEN | Civil Part Docket# L-002760-22

Case Caption: TAVERAS, JR. PEDRO VS WALMART INC.                 Case Type: PERSONAL INJURY
Case Initiation Date: 05/20/2022                                 Document Type: Complaint with Jury Demand
Attorney Name: PASHA RAZI                                        Jury Demand: YES - 6 JURORS
Firm Name: JAE LEE LAW PC                                        Is this a professional malpractice case? NO
Address: 2050 CENTER AVE STE 120                                 Related cases pending: NO
FORT LEE NJ 07024                                                If yes, list docket numbers:
Phone: 2013463800                                                Do you anticipate adding any parties (arising out of same
Name of Party: PLAINTIFF : Taveras, Jr., Pedro                   transaction or occurrence)? NO
Name of Defendant’s Primary Insurance Company                    Does this case involve claims related to COVID-19? NO
(if known): None
                                                                 Are sexual abuse claims alleged by: Pedro Taveras, Jr.? NO



      THE INFORMATION PROVIDED ON THIS FORM CANNOT BE INTRODUCED INTO EVIDENCE
                      CASE CHARACTERISTICS FOR PURPOSES OF DETERMINING IF CASE IS APPROPRIATE FOR MEDIATION




 Do parties have a current, past, or recurrent relationship? NO

 If yes, is that relationship:

 Does the statute governing this case provide for payment of fees by the losing party? NO

 Use this space to alert the court to any special case characteristics that may warrant individual
 management or accelerated disposition:



 Do you or your client need any disability accommodations? NO
         If yes, please identify the requested accommodation:



 Will an interpreter be needed? NO
          If yes, for what language:


 Please check off each applicable category: Putative Class Action? NO Title 59? NO Consumer Fraud? NO




 I certify that confidential personal identifiers have been redacted from documents now submitted to the
 court, and will be redacted from all documents submitted in the future in accordance with Rule 1:38-7(b)

 05/20/2022                                                                                                   Isl PASHA RAZI
 Dated                                                                                                                Signed
      CaseBER-L-002760-22 05/21/2022Document
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BERGEN COUNTY COURTHOUSE
SUPERIOR COURT LAW DIV
BERGEN COUNTY JUSTICE CTR RM 415
HACKENSACK       NJ 07601-7680
                                               TRACK ASSIGNMENT NOTICE
COURT TELEPHONE NO. (201) 221-0700
COURT HOURS 8:30 AM - 4:30 PM

                              DATE:     MAY 20, 2022
                              RE:       TAVERAS, JR. PEDRO   VS WALMART INC.
                              DOCKET    BER L -002760 22

      THE ABOVE CASE HAS BEEN ASSIGNED TO:     TRACK 2.

     DISCOVERY IS   300 DAYS AND RUNS FROM THE FIRST ANSWER OR 90 DAYS
FROM SERVICE ON THE FIRST DEFENDANT, WHICHEVER COMES FIRST.

      THE PRETRIAL JUDGE ASSIGNED IS:     HON PETER G. GEIGER

       IF YOU HAVE ANY QUESTIONS, CONTACT TEAM        002
AT:   (201) 527-2600.

      IF YOU BELIEVE THAT THE TRACK IS INAPPROPRIATE YOU MUST FILE A
 CERTIFICATION OF GOOD CAUSE WITHIN 30 DAYS OF THE FILING OF YOUR PLEADING.
      PLAINTIFF MUST SERVE COPIES OF THIS FORM ON ALL OTHER PARTIES IN ACCORDANCE
WITH R.4:5A-2.
                            ATTENTION:
                                             ATT: PASHA RAZI
                                             JAE LEE LAW PC
                                             2050 CENTER AVE STE 120
                                             FORT LEE         NJ 07024

ECOURTS
